Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 1 of 21 PageID: 1




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AVENTISUB LLC, CHATTEM, INC.,
and SANOFI-AVENTIS US LLC


                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                                  d
 AVENTISUB LLC, CHATTEM, INC., and )
 SANOFI-AVENTIS US LLC,             )
                                    )
                     Plaintiffs,    )   Civil Action No.
                                    )
           v.                       )
                                    )
 CONSENSUS HOLDINGS LLC             )
                                    )
                     Defendant.     )

              COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

                                      JURY DEMAND

       Plaintiffs Aventisub LLC, Chattem, Inc., and Sanofi-Aventis US LLC (collectively

“Sanofi”) by and through its undersigned counsel, complains of Defendant Consensus Holdings

LLC’s (“Defendant”) misconduct and alleges as follows:

                                  NATURE OF ACTION

       1.     This case seeks to hold Defendant accountable for infringement and counterfeiting,

and related unfair competition arising from Defendant’s sale of counterfeit Allegra products
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 2 of 21 PageID: 2




(“Allegra Products”). Sanofi seeks injunctive and monetary relief for Defendant’s willful acts

under the Lanham Act, 15 U.S.C. § 1051, et seq., as well as related state law claims arising from

Defendant’s infringing conduct.

       2.      As set forth in detail below, Sanofi has uncovered Defendant’s willful infringement,

involving the sale of counterfeit Allegra Products to consumers through online commerce sites.

       3.      Defendant’s conduct has produced and, unless enjoined by this Court, will continue

to produce, a likelihood of confusion and deception amongst consumers of Allegra Products, to

the irreparable injury of Sanofi and its customers.

       4.      As a result of Defendant’s actions, allergy patients are placed in harm’s way.

Accordingly, this action seeks permanent injunctive relief and damages for Defendant’s trademark

infringement, false designation of origin, and unfair competition.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the subject matter of this Complaint pursuant to 15

U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338(a) and (b), as these claims arise under the Trademark

Laws of the United States.

       6.      Defendant is subject to personal jurisdiction in this forum because it is a New Jersey

limited liability company; because Defendant is physically located in the state of New Jersey and

sells products within the United States, the State of New Jersey, and this District; because

Defendant misrepresented the nature of products to residents of the United States, the State of New

Jersey, and this District; because Defendant has caused injury to Plaintiffs in the United States, the

State of New Jersey, and this District; because Defendant practices the unlawful conduct

complained of herein, in part, within the United States, the State of New Jersey, and this District;




                                                  2
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 3 of 21 PageID: 3




and because Defendant regularly conducts or solicits business within the United States, the State

of New Jersey, and this District.

        7.      Venue is proper in this judicial district under 28 U.S.C. § 1391.

                                              PARTIES

        8.      Plaintiff Aventisub LLC d/b/a Sanofi is a Delaware limited liability company with

a principal place of business at 55 Corporate Drive, Bridgewater, NJ 08807.

        9.      Plaintiff Chattem, Inc is a Tennessee corporation with a principal place of business

at 55 Corporate Drive, Bridgewater, NJ 08807.

        10.     Plaintiff Sanofi-Aventis US LLC is a Delaware limited liability company with a

principal place of business at 55 Corporate Drive, Bridgewater, NJ 08807.

        11.     Defendant Consensus Holdings LLC, d/b/a Amazon Seller Consensus Holdings, is

a New Jersey limited liability company with a principal place of business in Bergen County, New

Jersey. It sells products, including those at issue in this lawsuit, via various internet platforms. Its

most prominent storefront is through its Amazon.com account named “Consensus Holdings.”

        12.     Amazon.com has assigned Defendant’s Consensus Holdings storefront user ID

ATWWOXPMRKSFC.

                                               FACTS

Sanofi Trademark Usage

        13.     The U.S. Patent and Trademark Office (“USPTO”) has issued several registrations

for marks used with over the counter consumer health products (hereinafter, the “Allegra Marks”).

The Allegra Marks include, but are not limited to:


              Mark                        Registration Number                 Registration Date




                                                   3
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 4 of 21 PageID: 4




               ALLEGRA                             6,214,890                      Dec. 6, 2020


               ALLEGRA                             5,325,748                      Oct. 31, 2017


               ALLEGRA                             5,325,746                      Jan. 30, 2017


      ALLEGRA 24 HOUR                              4,136,435                      May 1, 2012


               ALLEGRA                             4,050,384                      Nov. 1, 2011


               ALLEGRA                             2,067,728                      Jun. 3, 1997




         14.       The Allegra Marks have been in continuous use since at least their respective dates

of registration.

         15.       Sanofi advertises, distributes, and sells its Allegra Products to consumers under the

Allegra Marks.

         16.       Sanofi has also acquired common law rights in the use of the Allegra Marks through

the United States.

         17.       The federal trademark registrations for the Allegra Marks were duly and legally

issued, are valid and subsisting, and constitute prima facie evidence of the validity of the Allegra

Marks.

         18.       Sanofi has invested a substantial amount of money and has expended significant

time and effort in advertising, promoting, and developing the Allegra Marks throughout the United

States and the world. As a result of such advertising and promotion, Sanofi has established

substantial goodwill and widespread recognition in the Allegra Marks, and the marks have become




                                                     4
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 5 of 21 PageID: 5




famous and associated exclusively with Sanofi and its products by both customers and potential

customers, as well as the general public at large.

       19.     To create and maintain such goodwill among its customers, Sanofi has taken

substantial steps to ensure that products bearing the Allegra Marks are of the highest quality. As

a result, the Allegra Marks have become widely known and are recognized throughout the United

States and the world as symbols of high quality products.

       20.     As a result of, inter alia, the care and skill exercised by Sanofi in the conduct of its

business, the high quality of the goods sold under the Allegra Marks, and the extensive advertising,

sale, and promotion by Sanofi of its products, the Allegra Marks have acquired secondary meaning

in the United States and the world, including this District.

       21.     Sanofi is not affiliated with Defendant, and Defendant is not authorized to use the

Allegra Marks.

Allegra Products

       22.     Sanofi is recognized throughout New Jersey, the United States, and the world as a

leading manufacturer of over the counter consumer health products. Sanofi strives to build a

healthier future by helping people, help themselves. Sanofi empowers people to champion better

self-care for themselves, their communities and the planet, through their consumer inspired

science-based products and solutions. Through the Sanofi brands, Sanofi elevates creativity and

makes health as simple as it should be, helping more people play an active role in their health.

       23.     Sanofi develops, manufactures, and sells a vast portfolio of healthcare solutions

around the globe from prescriptions medicines and consumer health products to vaccines and

medical devises. Sanofi is obliged to meet legal and regulatory requirements to the safety of

products through their entire life cycle, from research to end use, and also aim to protect patient




                                                  5
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 6 of 21 PageID: 6




health by monitoring the safety of its medicines and constantly assessing the benefits/risk profile

of its products.

        24.        Moreover, Sanofi is committed to safeguarding the integrity and traceability of its

products as a partner in the global fight against medical products that deliberately or fraudulently

misrepresent their identity, composition or source (“falsified medicine”). To assist in this fight, in

2008, Sanofi created its Central Anti-Counterfeiting Laboratory.

        25.        Allegra Products go through rigorous testing and quality control in order to protect

consumers. This ensures that the products consumers receive are authentic, contain active

ingredients, correct dosages, and do not include dangerous additives.

        26.        To safeguard consumers, Sanofi includes safety seals, batch numbers, and

expiration dates on its products.


Defendant’s Infringing and Improper Conduct

        27.        Sanofi has never authorized or otherwise granted Defendant permission to sell

Allegra Products.

        28.        Despite this, Defendant has sold and/or continues to offer for sale the Allegra

Products on various online commerce sites including, but not limited to, Amazon.com using the

seller name Consensus Holdings.

        29.        Defendant offers for sale and sells non-genuine Allegra Products on the Internet

using the Allegra Marks.

        30.        Defendant’s advertisement of Allegra Products and use of the Allegra Marks

provide customers with a false assurance that the products they have purchased are authentic and

conform with Sanofi’s high standards, contain active ingredients, and most importantly, are safe.




                                                    6
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 7 of 21 PageID: 7




        31.     The Allegra Products Defendant actually sells and delivers to consumers are not

genuine. The sale of these non-genuine, counterfeit products to consumers poses grave health and

safety risks.

        32.     In addition to harm to consumers, the sale of counterfeit Allegra Products directly

harms Sanofi in many ways. Counterfeit Allegra Products that do not help relieve consumers’

ailments degrade and create a false impression that Allegra Products are unreliable, thereby

tarnishing Sanofi’s reputation and causing Sanofi to lose control of its goodwill and suffer lost

sales and future business opportunities.

        33.     When consumers purchase Sanofi brand products that are counterfeit, their image

of Sanofi is diminished and Sanofi’s opportunity to sell genuine, high-quality products to those

consumers may be lost forever. As a result of the manufacture and distribution of such counterfeit

products, Sanofi suffers substantial and irreparable harm to its brand, image, business, and

goodwill with the public.

        34.     Sanofi also suffers lost sales when customers purchase counterfeit products instead

of genuine Allegra Products. Counterfeit goods directly harm, and unfairly compete against, Sanofi

and its retail partners who sell and distribute genuine goods, resulting in lost profits.

        35.     The Allegra Product, Allegra Allergy 24 hour, when purchased from Sanofi or an

Authorized Reseller contains a safety seal, identifying batch numbers located on the box and bottle,

which match, and expiration dates on the box and bottle, which match. These product attributes

are for ensuring the quality of the product and to protect the consumer.

        36.     On November 9, 2022, Defendant advertised and sold non-genuine Allegra

Product, Allegra Allergy 24 hours 180mg tablets (the “Infringing Product”), to a consumer:




                                                   7
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 8 of 21 PageID: 8




       37.    Upon receipt, the consumer discovered that the safety foil seal on the Infringing

Product was punctured and open.




                                              8
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 9 of 21 PageID: 9




       38.     Upon receipt of the Infringing Product by the consumer, the consumer contacted

Sanofi to complain of the issue.

       39.     Sanofi obtained the Infringing Product and evaluated the Infringing Product’s

traceability, packaging elements, and drug product.

       40.     Allegra Products contain unique batch numbers that are printed on both the exterior

carton and the bottle.

       41.     Allegra Products also contain expiration dates that are printed on both the exterior

carton and the bottle.

       42.     Genuine Allegra Allergy 24 hour 180mg tablets are oval in shape and contain

engravings on both sides.

       43.     Sanofi’s examination of the Infringing Product confirmed that the batch number on

the exterior carton, 22D270T, did not match the batch number printed on the bottle label 22B248T.

The expiration dates differed as well; with July 2024 printed on the bottle label, and the exterior

carton having “09/24” printed on the side:




                                                9
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 10 of 21 PageID: 10




       44.     As for the Infringing Product tablets contained within the non-conforming

packaging, these were also non-conforming. Specifically, the tablets were larger in size, differed

in shape, and did not have any engravings on them.

        Genuine Allegra 180mg Tablet                            Infringing Product




                                               10
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 11 of 21 PageID: 11




      45.           Upon testing the Infringing Product, Sanofi confirmed that the Infringing Product

pills were not genuine. The active ingredient in Allegra Products is fexofenadine hydrochloride

(“Fexofenadine HCI”). The analytical test (the “Test”) concluded that the Infringing Product was

negative for Fexofenadine HCI. The Test was performed to detect whether there was Fexofenadine

HCI contained in the product and not whether there were adulterants. Counterfeit pills such as the

Infringing Product may contain lethal amounts of fentanyl, methamphetamine, or other substances

known to threaten consumers’ health and safety. Furthermore, the DEA has found that counterfeit

pills are produced for the U.S. market by international and domestic drug trafficking organizations.

See         Dept.      of     Just.    &      Drug        Enf’t   Admin.,       Drug      Fact     Sheet,

https://www.dea.gov/sites/default/files/2021-05/Counterfeit%20Pills%20fact%20SHEET-5-13-

21-FINAL.pdf

        46.         Accordingly, Defendant sold non-genuine, counterfeit Allegra Products using the

Allegra Marks.

Likelihood of Confusion and Injury Caused by Defendant’s Actions

        47.         It would be difficult to overstate the importance that the assured quality of Sanofi’s

products has for consumers. Consumers purchase Sanofi products, and more specifically the

Allegra brand, for the sole purpose of ingesting the over the counter drug to treat and prevent

symptoms of allergies like itchy eyes, sneezing, and hives. Consumers rely on the Sanofi name

and the active ingredients, identified on the bottle, to ensure that they are consuming a product that

contains the ingredients advertised and does not contain any unknown additives, which a consumer

can be physically harmed by.

        48.         The harm being caused by the Defendant in this case is not theoretical. Consumers

have complained about Defendant’s sale of counterfeit products. Specifically. On November 14,




                                                     11
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 12 of 21 PageID: 12




2022 at 11:45AM, a consumer contacted Sanofi to complain of the Infringing Product. This

consumer stated that “she received one of [Sanofi’s] products in the mail last week and it’s a bottle

of Allegra medicine however the foil was already off, open, and broken and she wanted her money

back.”

         49.   Defendant’s actions cause—and have caused—consumer confusion and

disappointment regarding Sanofi sponsorship or approval of those products.

         50.   Defendant’s conduct results in consumer confusion as well as the dilution of

Sanofi’s goodwill and trade name.

         51.   Defendant substantially harms consumers and Sanofi by placing non-genuine,

counterfeit Allegra Products into the stream of commerce in the United States.

         52.   The sale of Allegra Products by Defendant interferes with Sanofi’s ability to control

the quality of Allegra Products sold to consumers.

         53.   Defendant’s conduct results in the lessening of sales of authorized and properly

advertised Allegra Products to the detriment of Sanofi.

         54.   As a result of Defendant’s actions, Sanofi is suffering the loss of substantial

goodwill and widespread recognition in the Sanofi brands and Allegra Products.

         55.   Defendant can continue to commit the acts complained of herein, and unless

restrained and enjoined, will continue to do so, all to Sanofi’s irreparable harm.

                                           COUNT I
                               Federal Trademark Infringement
                                In Violation of 15 U.S.C. § 1114

         56.   Sanofi incorporates by reference each of the allegations in the preceding paragraphs

of this Complaint as though fully set forth herein.




                                                 12
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 13 of 21 PageID: 13




       57.     The Allegra Marks and the goodwill of the business associated with them are

tremendously valuable in the United States and worldwide because they are distinctive and

universally associated in the public perception with the highest quality over the counter consumer

health products.

       58.     Defendant has sold, offered to sell, distributed, and advertised infringing products

bearing Allegra Marks (“Infringing Products”).

       59.     The differences between Defendant’s Infringing Products and genuine Allegra

Products are material.

       60.     Defendant’s actions have caused confusion, mistake, and deception as to the origin

and quality of Defendant’s Infringing Products because they are intentionally calculated to mislead

consumers into believing that Defendant’s Infringing Products originated from, are associated

with, or are otherwise authorized by Sanofi, when in fact they are not.

       61.     Upon information and belief, Defendant’s infringing actions were committed

fraudulently, willfully, and in bad faith, with knowledge of Sanofi’s exclusive rights to, and

goodwill in, the Allegra Marks, or with willful blindness to the same, and with the intent to cause

confusion, to cause mistake, and/or to deceive.

       62.     Defendant’s unauthorized use of the Allegra Marks constitutes trademark

infringement of the federally registered Allegra Marks and has caused substantial damage to Sanofi

and to the reputation and goodwill symbolized by the Allegra Marks in violation of Section 32 of

the Lanham Act, 15 U.S.C. § 1114, in an amount to be proven at trial.

       63.     Defendant’s conduct described above, including the unauthorized use of the

Allegra Marks in interstate commerce, has directly and proximately caused substantial, irreparable




                                                  13
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 14 of 21 PageID: 14




injury to Sanofi and to the business and goodwill represented by the Allegra Marks, which leaves

Sanofi without an adequate remedy at law

                                           COUNT II
                               Federal Trademark Counterfeiting
                                In Violation of 15 U.S.C. § 1114

         64.   Sanofi incorporates by reference each of the allegations in the preceding paragraphs

of this Complaint as though fully set forth herein.

         65.   The Allegra Marks are valid, protectable trademarks that have been registered as

marks on the principal register in the USPTO. Sanofi is the owner and registrant of the Allegra

Marks.

         66.   As described in more detail above, Defendant has used and counterfeited the

Allegra Marks in connection with the marketing, promotion, and sale of their goods and services

without Sanofi’s consent, in a manner that is likely to cause, and has actually caused, confusion

and/or mistake, or that has deceived members of the consuming public. Indeed, Defendant’s

counterfeiting and infringing activities are likely to cause and are actually causing confusion,

mistake and deception among the consuming public as to the origin, sponsorship, and quality of

Defendant’s infringing products.

         67.   Defendant has publicly advertised, sold, offered to sell, and distributed counterfeit

Allegra Products in interstate commerce in direct competition with Sanofi and without

authorization or consent to use the Allegra marks but with full knowledge of Sanofi’s notorious

prior rights in those marks.

         68.   Defendant’s counterfeit Allegra Products reproduce, counterfeit, copy, and

colorably imitate the Allegra Marks or display a spurious designation that is identical with or

substantially indistinguishable from, the Allegra Marks. Defendant has applied their




                                                 14
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 15 of 21 PageID: 15




reproductions, counterfeits, copies, and colorable imitations of the Allegra Marks on packages

intended to be used in commerce upon or in connection with the sale, offering for sale, distribution

or advertising of Defendant’s counterfeit products, which is likely to cause confusion, to cause

mistake, or to deceive.

       69.     Defendant’s unauthorized use of the Allegra Marks on or in connection with

Defendant’s counterfeit products was conducted intentionally and with notice and full knowledge

that the use was unauthorized by Sanofi. Accordingly, Defendant’s actions constitute willful

trademark infringement and counterfeiting of the Allegra Marks in violation of 15 U.S.C. §§ 1114

and 1117.

       70.     Sanofi has been, and will continue to be, damaged by Defendant’s infringement,

including by suffering irreparable harm through the diminution of trust and goodwill among Sanofi

consumers. Sanofi is entitled to an injunction against Defendant, and an order of destruction of all

infringing products, as well as all monetary relief and other remedies available under the Lanham

Act, including but not limited to trebled damages and/or actual profits, reasonable attorneys’ fees,

costs and prejudgment interest and/or statutory damages.

                                          COUNT III
                                  False Designation of Origin
                                in Violation of 15 U.S.C. § 1125

       71.     The Allegra Marks have been, and will continue to be, known throughout the

United States as identifying and distinguishing Sanofi’s products and services.

       72.     Sanofi engages in interstate activities designed to promote its goods and services

sold, as well as the goodwill associated with the Allegra Marks, throughout the United States.




                                                15
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 16 of 21 PageID: 16




       73.     By advertising or promoting products using the Allegra Marks as alleged herein,

Defendant is misrepresenting the nature, characteristics, and qualities of its goods and services in

violation of 15 U.S.C. § 1125.

       74.     Defendant has made and distributed, in interstate commerce and in this District,

product listings and advertisements that falsely designate the origin of Defendant’s goods and

services, falsely represent sponsorship by, affiliation with, or connection to Sanofi and its goods

and services, and/or falsely represent the nature, qualities, and characteristics of the Allegra

Products sold by Defendant in violation of 15 U.S.C. § 1125,

       75.     Defendant’s advertisement and sale of Allegra Products as alleged herein

constitutes the use in interstate commerce of a word, term, name, symbol, or device, or any

combination thereof, or false designation of origin, in connection with the sale, or offering for sale,

of goods in violation of 15 U.S.C. § 1125.

       76.     Defendant’s advertisement and sale of Allegra Products as alleged herein

intentionally misrepresents the nature, characteristics, qualities, or geographic origin of

Defendant’s goods and services. Specifically, Defendant’s unauthorized advertisement and sale of

Allegra Products intentionally misrepresents to consumers that Defendant’s Allegra Products are

genuine products which have gone through the same rigorous quality control testing and channels

and are authentic and safe.

       77.     Defendant’s advertisement and sale of Allegra Products as alleged herein creates a

false description and false designation of origin in violation of 15 U.S.C. § 1125, and Defendant’s

activities have caused and, unless enjoined by this Court, will continue to cause a likelihood of

confusion and public deception in the marketplace, and injury to Sanofi’s goodwill and reputation

in the Sanofi brands and Allegra Products, for which Sanofi has no adequate remedy at law.




                                                  16
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 17 of 21 PageID: 17




          78.   Defendant’s advertisement and sale of Allegra Products to mislead and deceive

consumers into believing that the Allegra Products sold by Defendant are authentic demonstrates

an intentional, willful, and malicious intent to trade on the goodwill associated with the Sanofi

brands and Allegra Products, thereby causing immediate, substantial, and irreparable injury to

Sanofi.

          79.   As a direct and proximate result of Defendant’s actions, Sanofi has been, and

continues to be, damaged by Defendant’s activities and conduct. Defendant has profited thereby,

and, unless its conduct is enjoined, Sanofi’s reputation and goodwill will continue to suffer

irreparable injury that cannot adequately be calculated or compensated by money damages.

Accordingly, Sanofi is entitled to injunctive relief pursuant to 15 U.S.C. § 1116.

          80.   Sanofi is entitled to a judgment of three times its damages and Defendant’s ill- gotten

profits, together with reasonable attorneys’ fees, pursuant to 15 U.S.C. § 1117.

          81.   Sanofi is entitled to a disgorgement of Defendant’s profits received due to its

conduct described herein pursuant to 15 U.S.C. § 1117.


                                           COUNT IV
                           Deceptive Trade Practices Under State Law
                                   (N.J.S.A. §§ 56:8-1, et seq.)

          82.   Sanofi hereby realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          83.   By advertising or promoting products using the Allegra Marks as alleged herein,

Defendant has used or employed unconscionable commercial practices, deception, false pretenses,

false promises, and misrepresentations in the sale of Allegra Products to consumers.




                                                  17
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 18 of 21 PageID: 18




       84.     As detailed above, Defendant’s acts have caused a likelihood of confusion or

misunderstanding as to the source, sponsorship, or approval of the Allegra Products that Defendant

sells to consumers.

       85.     Defendant’s acts have caused Sanofi damage, have irreparably harmed Sanofi and,

unless enjoined, will continue to do so in a manner affording Sanofi no adequate remedy at law.

                                      RELIEF REQUESTED

       WHEREFORE, Sanofi prays for judgment in its favor and against Defendant providing

the following relief:

       1.      For an entry of judgment in favor of Sanofi and against Defendant on each of

Defendant’s claims for relief alleged in this Complaint;

       2.      For a preliminary and permanent injunction restraining Defendant, its officers,

agents, servants, employees, attorneys, and any other persons or entities acting in concert or

participation with Defendant, including but not limited to any online platform or any other website,

website host, website administrator, domain registrar, or internet service provider from:

               a.       Importing, exporting, assisting in the importation or exportation,

                        manufacturing, procuring, distributing, shipping, retailing, offering for sale,

                        marketing, advertising, or trafficking in any products not authorized by

                        Sanofi and bearing the unauthorized simulations, reproductions,

                        counterfeits, copies, or colorable imitations of the Allegra Marks which are

                        likely to cause confusion, or bearing a design that is of a substantially

                        similar appearance to the Allegra Marks listed in this Complaint;

               b.       falsely advertising the condition of any Allegra Products that it can legally

                        sell;




                                                  18
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 19 of 21 PageID: 19




               c.     acquiring, or taking any steps to acquire, any Allegra Products that leads to

                      a violation of the Lanham Act;

               d.     selling, or taking any steps to sell, any Allegra Products in violation of the

                      Lanham Act;

               e.     engaging in any activity constituting unfair competition with Sanofi; and

               f.     inducing, assisting, or abetting any other person or entity in engaging in or

                      performing any of the business activities described in the paragraphs above.

       3.      For a determination that Defendant’s acts of trademark infringement constitute

cases of willful and exceptional infringement;

       4.      Award Sanofi statutory damages of $2,000,000 per counterfeit mark per each good

sold, offered for sale, or distributed by Defendant pursuant to 15 U.S.C. § 1117(c);

       5.      Award Sanofi its damages suffered as a result of Defendant’s acts and treble said

damages as provided by law pursuant to 15 U.S.C. § 1117;

       6.      Award Sanofi Defendant’s profits as a result of Defendant’s acts and treble said

damages as provided by law pursuant to 15 U.S.C. § 1117;

       7.      Award Sanofi its reasonable attorneys’ fees in bringing this action as allowed by

law;

       8.      Award Sanofi pre-judgment and post-judgment interest in the maximum amount

allowed under the law;

       9.      Award Sanofi the costs incurred in bringing this action; and

       10.     Grant Sanofi such other relief as this Court deems just and proper.




                                                 19
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 20 of 21 PageID: 20




Dated: January 16, 2024                   Respectfully submitted,

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                                          CHATTEM, INC., and SANOFI-AVENTIS
                                          US LLC




                                     20
Case 2:24-cv-00257-CCC-JSA Document 1 Filed 01/16/24 Page 21 of 21 PageID: 21




                              REQUEST FOR TRIAL BY JURY

       Plaintiffs hereby request a trial by jury on all counts so triable.


Dated: January 16, 2024

                                                        /s/ Benjamin I. Rubinstein
                                                       Benjamin I. Rubinstein
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                                                 21
